                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
        v.                                      )       No. 3:00-00094
                                                )
MICHAEL HODGE                                   )

                                               ORDER

        Pending before the Court are two motions filed by Defendant Michael Hodge. In the first,

(Docket No. 184), Defendant “requests the court to reconsider the sentence given him” because he has

a “terminal illness” for which he claims the Bureau of Prison (“BOP”), in May 2013, gave him a life

expectancy of 1-3 years. In the second, (Docket No. 208), Defendant reiterates that he is “gravelly ill,”

and asks the Court to set a “modification hearing” in accordance with Rule 35 of the Federal Rules of

Criminal Procedure. Both motions also request the appointment of counsel.

        After Defendant pled guilty to Counts 1, 4 and 7 of the Indictment, Judge Echols sentenced him

to a concurrent sentence of 180 months on Counts 1 and 7, and a consecutive sentence of 60 months

on Count 4, for an effective sentence of 240 months. The sentence was imposed on March 19, 2003,

and is final.

        “Normally, federal courts cannot disturb or recalculate a prisoner's sentence once it is finally

imposed[.]” United States v. Blewett, 746 F.3d 647, 665 (6th Cir. 2013). However, there are limited

exceptions to this rule found in 18 U.S.C. § 3582(c). Specifically, a court may reduce a sentence “(1)

where the BOP has filed a motion, and either extraordinary and compelling reasons warrant a reduction

or the defendant is at least 70 years old and meets certain other requirements, see 18 U.S.C. §

3582(c)(1)(A); (2) where another statute or Federal Rule of Criminal Procedure 35 expressly permits

a sentence modification, see id. § 3582(c)(1)(B); or (3) where a defendant has been sentenced to a term



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  Case 3:00-cr-00094          Document 212          Filed 06/12/14      Page 1 of 2 PageID #: 50
of imprisonment based on a sentencing range that was later lowered by the United States Sentencing

Commission and certain other requirements are met, see id. § 3582(c)(2).” United States v. Phillips,

597 F.3d 1190, 1194–95 (11th Cir. 2010); see also United States v. Lawrence, 535 F.3d 631, 637 (7th

Cir. 2008) (identifying same statutory factors). “‘Unless the basis for resentencing falls within one of

the specific categories authorized by section 3582(c), the district court lack[s] jurisdiction to consider

[the defendant’s] request.’” United States v. Williams, 607 F.3d 1123, 1125 (6th Cir. 2010) (quoting

United States v. Smartt, 129 F.3d 539, 541 (10th Cir. 1997)).

        None of the exceptions to the finality rule apply in this case. Defendant’s sole basis for release

is his medical condition. “But under § 3582(c)(1)(A), a court cannot reduce a prisoner’s sentence

except ‘upon [the] motion of the Director of the [BOP]’ and a finding that ‘extraordinary and

compelling reasons warrant’ a reduction.” Cruz-Pagan v. Warden, FCC Coleman-Low, 486 F. App’x

77, 78-79 (11th Cir. 2012) (quoting 18 U.S.C. § 3582(c)(1)(A)). “The plain meaning of this section

requires a motion by the Director as a condition precedent to the district court before it can reduce a

term of imprisonment.” Id. No such motion has been filed by the BOP in this case.

        Further, Defendant is not entitled to a “modification hearing” under Rule 35. That Rule allows

for a correction or modification “[w]ithin 14 days after sentencing” to “correct a sentence that resulted

from arithmetical, technical, or other clear error,” or where the government moves for a reduction in

sentence based upon substantial assistance, neither of which applies in this case.

        Accordingly, Defendant’s Motions (Docket Nos. 184 & 208) are hereby DENIED.

        It is SO ORDERED.


                                                         ____________________________________
                                                         KEVIN H. SHARP
                                                         UNITED STATES DISTRICT JUDGE




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  Case 3:00-cr-00094          Document 212         Filed 06/12/14       Page 2 of 2 PageID #: 51
